Case 2:O4-cv-O2346-.]DB-dkv Document 9 Filed 07/20/05 Page 1 of 2 Page|D 22

 

IN THE UNITED sTATEs DISTRICT coURT F"~ED BV_ ` D`c"
FoR THE wE€Vr§Sizrbélp§s]§§l/<I:Si;é); TENNESSEE 05 JUL 20 PH al 28
PENTECOSTAL TEMPLE leTITUTIONAL &§§<{?:;AJF%QT§OL.]L`DGW
cHuRcH oF GoD IN CHRIST, INC., W,@ p. n atlas
Plainnff,
v. No. 04-2346-B/v

GUIDEONE INSURANCE, INC.,

Defendant.

 

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This court, having been advised by counsel for the parties that settlement has been
reached on all matters in this case, directs that this action be DISMISSED. Furthermore, any
pending motions are DENIED as moot and all proceedings currently set before the court are
removed from the court’s calendar.

The dismissal granted herein shall be Without prejudice for a period of 30 days from the
entry of this order. If settlement is not consummated within that 30 day period, the parties may
reopen this action upon motion approved by the court. Should the parties fail to move to reopen
the case within the prescribed period, the matter shall, Without further order, stand dismissed
_w_it_b prejudice.

IT Is so 0RDERED this Z‘l day of Juiy, 2005.

 

J. DANIEL BREEN \
NI D sTATEs DISTRICT JUDGE

This document entered on the docket ehth ln compliance

Wlth Flule 58 and/or 79(3) FRCP on Z~ 025 l -» §25 @

 

UNITED`TATES DSTRCIIT C URT - WESERNDISTCRIT oFTNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02346 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

